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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                               No. 4:07CR00315-03 JLH

ADOLFO ARECHIGA                                                                 DEFENDANT


                                          ORDER

      The United States of America has filed a motion for leave to dismiss the indictment as to

Adolfo Arechiga. That motion is GRANTED. The indictment is hereby dismissed as to Adolfo

Arechiga.

      IT IS SO ORDERED this 18th of February, 2010.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
